        Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 1 of 15




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

MAZIE DAGLIS,                    )
                                 )
      Plaintiffs,                )
                                 )
v.                               ) CIVIL ACTION FILE NO.:
                                 ) ______________________
COCA-COLA BOTTLING COMPANY       )
UNITED, INC., COCA-COLA BOTTLING )
UNITED-EAST, LLC, THE KROGER CO )
and JOHN DOES 1-3,               )
                                 )
      Defendants.                )

                                   COMPLAINT

         COME NOW Plaintiff and files this Complaint for Damages,

   showing this Honorable Court as follows:

                                       1.

         Plaintiff Mazie Daglis (hereinafter referred to as “Plaintiff” or “Daglis”)

   is a citizen and resident of the State of Georgia and resides at 4845 Brown Leaf

   Dr. Powder Springs, Ga 30127. This case is a renewal actional filed pursuant

   to O.C.G.A. § 9-2-61. The previous action was filed in in the State Court of

   Gwinnett County, Civil Action File No.: on or about June 12, 2019. The matter

   was transferred to this Court and was given a File No.: 1:19-CV-03220-AT.



                                             1
     Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 2 of 15




All costs in all courts have been paid pursuant to O.C.G.A. § 9-11-41(d). The

previous action involved substantially the same parties, involved substantially

the same claims and was a valid action with proper service upon Defendants.

The previous action in this Court was dismissed without prejudice on April 6,

2021. This renewal action is filed within six (6) months of Plaintiff’s voluntary

dismissal without prejudice of the previous action.

                                     2.

      Defendant Coca-Cola Bottling Company United, Inc. (hereinafter

referred to as “Defendant Coca-Cola United”) is a foreign corporation

organized and duly existing under the laws of Delaware and authorized to

conduct business in the State of Georgia.

                                     3.

      Defendant Coca-Cola United’s registered agent for service is: CT

Corporation System 289 S. Culver St. Lawrenceville, GA 30046. Defendant

Coca- Cola United may be served by serving a Summons and a copy of the

Complaint upon the Registered Agent or in the alternative, upon Attorney Ron

Coleman pursuant to Defendant Coca-Cola United’s agreement to accept

service of process.




                                            2
     Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 3 of 15




                                      4.

   Defendant Coca-Cola United is subject to the jurisdiction of this Court.


                                      5.

      Defendant Coca-Cola United is subject to the venue of this Court.


                                      6.

      Defendant Coca-Cola United has been properly served with process in

      this action.

                                      7.

      Defendant Coca-Cola Bottling Company United-East, LLC, (referred to

as “Defendant Coca-Cola East”), is a foreign corporation organized and duly

existing under the laws of Delaware and authorized to conduct business in the

state of Georgia.

                                      8.

      Defendant Coca-Cola East’s registered agent for service is: CT

Corporation System 289 S. Culver St. Lawrenceville, GA 30046. Defendant

Coca-Cola East may be served by serving a Summons and a copy of the

Complaint upon the Registered Agent.




                                           3
     Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 4 of 15




                                      9.

      Defendant Coca-Cola East is subject to the jurisdiction of this Court.

                                      10.

      Defendant Coca-Cola East is subject to the venue of this Court.


                                      11.

      Defendant Coca-Cola East has been properly served with process in

      this action.

                                    12.

      Defendant The Kroger Co (referred to as “Defendant Kroger”), is a

foreign corporation organized and authorized to conduct business in the State of

Georgia.

                                    13.

      Defendant Kroger’s registered agent for service is: CSC of Cobb County,

Inc. 192 Anderson St. SE Suite 125 Marietta, GA 30060. Defendant Kroger

may be served by serving a Summons and a copy of the Complaint upon the

Registered Agent.

                                    14.

      Defendant Kroger is subject to the jurisdiction of this Court.



                                            4
     Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 5 of 15




                                     15.

      Defendant Kroger is subject to the venue of this Court.


                                     16.

      Defendant Kroger has been properly served with process in this action.

                                     17.

      Defendant John Does 1-3 are corporations authorized to transact business

in Georgia and/or employees or agents of such corporations that are currently

unknown. John Does will be served with Summons and a copy of the Complaint

once their identities are made known.

                                    FACTS

                                     18.

      Plaintiff hereby adopts and re-alleges the allegations contained in

Paragraphs 1 through 17 as if fully set forth herein.

                                     19.

      On or about June 29, 2017, Plaintiff Mazie Daglis was an invitee at the

Kroger Store located at 440 Brownsville Rd. in Powder Springs, GA

(hereinafter referred to as the “Premises”), when she reached to select a six pack

of Coca-Cola from a Coke display and the wooden display fell onto her body



                                           5
        Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 6 of 15




   causing multiple injuries.

                                        20.

        Prior to the display falling, neither the Defendants nor their

      employees or agents warned Plaintiff that display was not adequately

      secured.

                                        21.

      Nor were any warnings or signs posted near or around the display.

                                        22.

      At all times mentioned herein, Plaintiff exercised ordinary care and diligence

under the circumstances.

                                        23.

          Upon information and belief, the employees and agents of Defendant

   Coca- Cola United and/or Coca-Cola East had exclusive possession and control

   of the display prior to its installation at the premises and were responsible for

   ensuring it was secure for use by patrons like the Plaintiff at all times relevant

   to this litigation.

                                        24.

          Upon information and belief, on the date of this incident Defendant

   Kroger had possession and control of the display after its installation within



                                              6
     Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 7 of 15




their store and were responsible for inspecting and maintaining it.

                                       25.

      As a result of the sign falling on her, Plaintiff suffered physical injuries

      to her person.

                                       26.

      Plaintiff’s injuries are continuing and permanent in nature.

                                       27.

      As a result of her injuries, Plaintiff has incurred reasonable and necessary

medical and doctor expenses and will continue to incur expenses in the future,

in an amount to be proven at trial.

       COUNT ONE – PREMISES LIABILITY/NEGLIGENCE AS
      TO DEFENDANTS COCA-COLA UNITED AND COCA-
      COLA EAST

                                      28.

      Plaintiff hereby adopts and re-alleges the allegations contained in

Paragraphs 1 through 27 as if fully set forth herein.

                                      29.

      Prior to the Coke display falling onto the Plaintiff, employee and/or

agents of Defendants Coca-Cola United and/or Coca-Cola East negligently

installed, inspected, maintained, and secured the display on the premises.


                                             7
     Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 8 of 15




                                          30.

       Defendant Coca-Cola United and/or Coca-Cola East are responsible

for their employees’ negligence under the theory of respondeat superior.

                                      31.

       Defendant Coca-Cola United owed a nondelegable duty of reasonable

care in installing, inspecting, maintaining, and securing the display to ensure it

is safe for invitees such as Plaintiff.

                                      32.

       Prior to the time when Plaintiff was injured on June 29, 2017, Defendant

Coca-Cola United and/or Coca-Cola East knew or should have known the Coke

display was inadequately secured by one of its employees/agents, thus creating

a hazardous condition.

                                           33.

       Defendants Coca-Cola United and/or Coca-Cola East had actual and/or

constructive notice of the aforementioned hazardous condition and were

negligent. Defendants Coca-Cola United and/or Coca-Cola East breached its

duty of care by failing to take adequate measures to protect invitees such as

plaintiff from hazardous conditions and by failing to properly warn invitees of

the hazard.


                                                 8
     Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 9 of 15




                                         34.

      Defendants Coca-Cola United and/or Coca-Cola East negligently failed

to implement and utilize proper procedures to prevent the existence of a

hazardous condition and, thus, created an unreasonable risk of injury to invitees

of the premises, including Plaintiff.

                                          35.

      Defendant Coca-Cola United and/or Coca-Cola East were and are

otherwise negligent.

COUNT TWO – NEGLIGENCE AS TO DEFENDANT KROGER

                                        36.

      Plaintiff hereby adopts and re-alleges the allegations contained in

Paragraphs 1 through 35 as if fully set forth herein.

                                        37.

      When the Coke display fell onto plaintiff, she was an invitee on the

Premises, and Defendant Kroger had exclusive control of the Premises.

                                        38.

      Defendant Kroger owed a nondelegable duty of reasonable care in

keeping the Premises safe for invitees such as Plaintiff.




                                                9
     Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 10 of 15




                                      39.

       Prior to Plaintiff’s injuries on June 29, 2017, Defendant Kroger knew

 or should have known the Coke display was inadequately secured presenting a

 hazard to the Plaintiff and other invitees who approached the display.

                                      40.

       Defendant Kroger was negligent in failing to inspect and maintain the

 display to ensure it was safe and secure for invitees.

                                      41.

       Defendant Kroger was further negligent in failing to warn invitees that

 the display was not adequately secured and therefore presented a hazard to

 invitees, such as the Plaintiff.

                                      42.

       Defendant Kroger negligently failed to implement and utilize proper

 procedures to prevent the hazardous display on its premises from collapsing

 and, thus, created an unreasonable risk of injury to invitees, including Plaintiff.

COUNT THREE – NEGLIGENCE OF DEFENDANTS JOHN DOES 1-3

                                        43.

       Plaintiff hereby adopts and re-alleges the allegations contained in

 Paragraphs 1 through 42 as if fully set forth herein.


                                              10
    Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 11 of 15




                                     44.

      John Does 1-3 are corporations and/or employees and agents of

corporations who acted negligently in installing, maintaining and/or inspecting

the display at issue.

                                     45.

      John Does 1-3 owed a nondelegable duty of reasonable care in

keeping the display safe for invitees such as Plaintiff.

                                     46.

      Prior to the time when Plaintiff was injured on June 29, 2017, Defendant

John Doe knew or should have known that display was inadequately secured

creating a hazard to invitees of the premises, such as Plaintiff.

                                     47.

      Defendants John Does 1-3 had actual and/or constructive notice of the

aforementioned hazardous condition and were negligent. That is, Defendants

John Does 1-3 breached their duty of care by failing to take adequate measures

to protect invitees from the hazardous display, by failing to properly warn

invitees of the approaching hazard, and by failing to keep the display safe for

invitees such as Plaintiff.




                                           11
     Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 12 of 15




                                     48.

       Defendants John Does 1-3 negligently failed to implement and utilize

proper procedures to prevent the hazardous condition existing on the premises

and, thus, created an unreasonable risk of injury to its invitees, including

Plaintiff.

                                     49.

       Defendants John Does 1-3 were and are otherwise negligent.

                      COUNT FOUR – DAMAGES

                                     50.

       Plaintiff hereby adopts and re-alleges the allegations contained in

Paragraphs 1 through 49 as if fully set forth herein.

                                     51.

       The injuries that Plaintiff sustained are the direct and proximate result

of the negligence of the Defendants.

                                     52.

       As the direct and proximate result of the Defendants’ negligence,

Plaintiff has incurred medical expenses for which she is entitled to

compensation.




                                           12
    Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 13 of 15




                                     53.

      As a direct and proximate result of Defendants’ negligence, Plaintiff

will incur future medical expense for which she is entitled to compensation.

                                     54.

      As a direct and proximate result of Defendants’ negligence, Plaintiff has

endured pain and suffering for which she is entitled to compensation.

                                     55.

      Plaintiff is entitled to recover for the injuries and pain and suffering

sustained, and all other elements of damages allowed under Georgia law,

including but not limited to all compensatory, general, special, incidental,

consequential, and all other damages permitted by law.

                 COUNT FIVE – ATTORNEYS FEES

                                     56.

      Plaintiff hereby adopts and re-alleges the allegations contained in

Paragraphs 1 through 55 as if fully set forth herein.

                                     57.

      At all times and in all matters mentioned above, Defendants have been

stubbornly litigious and have caused Plaintiff unnecessary trouble and expense,

thereby entitling Plaintiff to an award of reasonable attorneys’ fees and court


                                           13
    Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 14 of 15




costs pursuant to O.C.G.A. § 13-6-11.

      WHEREFORE, Plaintiff prays for the following relief:

      a) That a Summons and a copy of this Complaint be served upon

         Defendants as provided by law;

      b) For special damages for her past and future medical costs against

         Defendant in an amount to be proven at trial;

      c) For general damages for her personal injuries against Defendants

         (including, but not limited to pain and suffering, past, present and

         future) in an amount to be proven at trial;

      d) For attorneys’ fees and costs against Defendants pursuant to

         O.C.G.A. § 13-6-11; and,

      e) For all further losses and recovery as deemed proper by the Court.

      TRIAL BY JURY IS HEREBY DEMANDED.


      This 27th day of September, 2021.

                                                Respectfully submitted,

                                                TITUS SMITH, LLC

                                                /s/ Mathew K. Titus
                                                MATHEW K. TITUS
                                                Georgia Bar No. 732793
                                                Attorney for Plaintiff


                                          14
        Case 1:21-cv-03972-AT Document 1 Filed 09/27/21 Page 15 of 15




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                     CERTIFICATE OF COMPLIANCE

I, Mathew K. Titus, certify that the foregoing has been prepared in Times New

Roman 14 font and is in compliance with the United States District Court for the

Northern District of Georgia, Atlanta Division Local Rule 5.1.



          This 27th day of September, 2021.

                                                   Respectfully submitted,

                                                   TITUS SMITH, LLC

                                                   /s/ Mathew K. Titus
                                                   MATHEW K. TITUS
                                                   Georgia Bar No. 732793
                                                   Attorney for Plaintiff
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                                            15
